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 4   ATTORNEY FOR DEFENDANT
     JOHN MICHAEL DICHIARA
 5
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
      UNITED STATES OF AMERICA,                  )         Case №: 2:15-cr-190 GEB
11                                               )
                     Plaintiff,                  )
12                                               )
             vs.                                 )      STIPULATION AND PROPOSED
13                                               )      ORDER RELEASING SEALED
           .                                     )      TRANSCRIPT TO DEFENSE COUNSEL
14    JOHN MICHAEL DICHIARA                      )
                                                 )
15                   Defendant.                  )
16
17
18
                                                     STIPULATION
19
            On February 22, 2019, this Court held an in camera hearing concerning the status of
20
     counsel. Counsel for the defendant now seeks a transcript of those proceeding from the court
21
22   reporter.

23          .IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,
24   Audrey Hemesath, Assistant United States Attorney, and Robert M. Wilson, attorney for John
25
     DiChiara, that the in-camera proceedings held in this matter on February 22, 2019, were and are,
26
     subject to court order, intended to remain confidential and sealed. The parties further stipulate
27
28                                                     1
      STIPULATION AND PROPOSED ORDER RELEASING SEALED TRANSCRIPT TO
                             DEFENSE COUNSEL
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 1   and agree that notwithstanding the request by defense counsel for a transcript, the proceedings
 2
     and any transcript shall be sealed until further order of court.
 3
 4
     IT IS SO STIPULATED.
 5
 6
     Dated: February 25,2019                                 /s/ Robert M. Wilson
 7                                                          ROBERT WILSON
                                                            Counsel for Defendant
 8                                                          JOHN DICHIARA
 9
10   Dated: February 25, 2019                               MCGREGOR SCOTT
                                                            United States Attorney
11
12                                                          /s/ Audrey Hemesath
                                                            AUDREY HEMESATH
13                                                          Assistant United States Attorneys
14
                                                IT IS SO ORDERED.
15
16          The court reporter is directed to produce a transcript of the in camera proceedings held on
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     February 22, 2019, and make it available to defense counsel on an expedited basis. The
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     transcript shall be filed under seal. Defense counsel is authorized to share the transcript with the
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     panel administrator or any other governing body charged with overseeing counsel’s quality of
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21   representation.

22          Dated: February 26, 2019

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28                                                      2
      STIPULATION AND PROPOSED ORDER RELEASING SEALED TRANSCRIPT TO
                             DEFENSE COUNSEL
